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                        IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


A.S.R., individually and on behalf of all others
similarly situated,

Petitioner–Plaintiff,

v.

DONALD J. TRUMP, in his official capacity as         Case No. 3:25-cv-00113-SLH
President of the United States, et al.,

Respondents–Defendants.                              Judge Stephanie L. Haines




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